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                            IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



In re: DAILY FANTASY SPORTS LITIGATION                            MDL No. 1:16-md-02677-GAO




        NOTICE OF INTENT TO FILE MOTION TO DISMISS AND STATEMENT
               REGARDING MOTION TO COMPEL ARBITRATION

        Pursuant to the Court’s order at the September 29, 2016, hearing (Dkt. No. 291)

(“Order”), Defendants Paysafecard.com USA, Inc., and Vantiv, Inc., (“Payment Processor

Defendants”) hereby state that they will not move to compel arbitration against the following

plaintiffs: Nelson Steiner, Brackie Bryant (as to claims related to the FanDuel Terms of Use

only), Peter Johnson (as to claims related to the FanDuel Terms of Use only), and Aissa Khirani

(as to claims related to the FanDuel Terms of Use only) (“Remaining Plaintiffs”).

        Pursuant to the Order, the Payment Processor Defendants hereby file a placeholder

motion stating their grounds for their motion to dismiss the First Amended Master Class Action

Complaint and Jury Demand (Dkt. No. 269) (“Complaint”) as to the Remaining Plaintiffs.1 The

grounds on which the Payment Processor Defendants currently intend to move to dismiss the

Complaint include the following.

             1. The Complaint fails to state a claim as to Count XXV, plaintiffs’ Racketeer

                 Influenced and Corrupt Organizations (“RICO”) Act claim, against the Payment

                 Processor Defendants for the following reasons.

1
 The Court’s Order (Dkt. No. 291) directed the parties to file a “placeholder motion[], without accompanying
briefing, stating the grounds for their motions to dismiss.” At the October 29 hearing, the Payment Processor
Defendants’ understanding was that only a statement of the bases for their anticipated motions was requested.
Nonetheless, in light of the wording of the Order, Payment Processor Defendants have styled this as a Notice of
Intent. Payment Processor Defendants expect to submit a fully briefed motion to compel arbitration on November
16, 2016, in accordance with the parties’ September 28, 2016 stipulated scheduling order (Dkt. No. 283), and a
subsequent motion to dismiss on such date as the Court further may determine.
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         a. Plaintiffs do not have RICO Act standing because the alleged “gambling

             losses” are not an “injury to property” under the RICO Act, and because

             defendants’ alleged actions did not proximately cause plaintiffs’ injuries.

         b. The Complaint fails to state specific facts alleging the Payment Processor

             Defendants’ operation or management of the alleged enterprises. The

             Payment Processor Defendants’ alleged activities are merely the standard

             services of financial organizations performed for the alleged enterprises.

             Extensive case law holds that a financial organization’s provision of

             standard services cannot amount to operation or management of a RICO

             enterprise.

         c. The Complaint fails to state specific facts that would show that the

             members of the alleged enterprises, each an alleged association-in-fact,

             have relationships with one another.

         d. The Complaint fails to state predicate acts that the Payment Processor

             Defendants allegedly committed.

         e. The Complaint fails to state specific facts sufficient to support the

             predicate acts asserted.

  2. The Complaint fails to state a claim as to Count XXVI, plaintiffs’ conspiracy to

     violate the RICO Act claim, against the Payment Processor Defendants for the

     following reasons.

         a. The Complaint fails to state a violation of the RICO Act for the reasons

             stated above.




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                  b. The Complaint fails to state nonconclusory allegations that the Payment

                      Processor Defendants agreed to enter a conspiracy regarding the alleged

                      enterprises.

           3. The Complaint fails to state a claim as to Count XIII, plaintiffs’ unjust enrichment

              claim against the Payment Processor Defendants, for the following reasons.

                  a. The alleged benefit transferred from plaintiffs to the Payment Processor

                      Defendants is either insufficiently alleged or too attenuated.

                  b. An unjust enrichment theory cannot stand where, as here, a contract

                      governs plaintiffs’ transfer of the alleged benefit.

                  c. The Complaint fails to state nonconclusory allegations sufficient to show

                      that the alleged transfer to the Payment Processor Defendants was unjust,

                      in light of plaintiffs’ failure to show that the Payment Processor

                      Defendants violated the RICO Act or any other statute.

           4. Plaintiffs failed to effectuate service of process on defendant Paysafecard.com

              USA, Inc.

Additionally, the Payment Processor Defendants incorporate by reference any grounds for a

motion to dismiss asserted by defendants DraftKings, Inc., and FanDuel, LLC that may be

applicable to plaintiffs’ claims against the Payment Processor Defendants.




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Dated: November 2, 2016
       Washington, District of Columbia

Respectfully submitted,


By: /s/ Lee F. Berger                           By: /s/ George R. Calhoun, V
    Behnam Dayanim (pro hac vice)                   George R. Calhoun, V (pro hac vice)
    Lee F. Berger (pro hac vice)                    Ifrah PLLC
    Kathleen Sheridan (pro hac vice)                1717 Pennsylvania Ave., N.W.
    bdayanim@paulhastings.com                       Washington, DC 20006
    leeberger@paulhastings.com                      Tel: (202) 524-4140
    kathleensheridan@paulhastings.com               george@ifrahlaw.com
    Paul Hastings LLP
    875 15th Street, N.W.                           David S. Godkin (BBO#196530)
    Washington, DC 20005                            James E. Kruzer (BBO#670827)
    Telephone: (202) 551-1700                       Birnbaum & Godkin, LLP
    Facsimile: (202) 551-1705                       280 Summer Street
                                                    Boston, MA 02210
    David S. Godkin (BBO#196530)                    Tel: (617) 307-6100
    James E. Kruzer (BBO#670827)                    godkin@birnbaumgodkin.com
    Birnbaum & Godkin, LLP                          kruzer@birnbaumgodkin.com
    280 Summer Street
    Boston, MA 02210                            Attorneys for Defendant Vantiv, Inc.
    Tel: (617) 307-6100
    godkin@birnbaumgodkin.com
    kruzer@birnbaumgodkin.com

Attorneys for Defendant Paysafecard.com
USA, Inc.



             LOCAL RULE 7.1(a)(2) CERTIFICATE OF CONSULTATION

        We, Lee F. Berger and George R. Calhoun, V, hereby certify pursuant to Local Rule
7.1(a)(2) that counsel for Defendant Paysafecard.com USA, Inc. and Defendant Vantiv, Inc.
corresponded with counsel for Plaintiffs by phone on November 1, 2016 in an attempt to
resolve the issue presented by this motion, but were unable to do so.

                                           /s/ Lee F. Berger
                                           Lee F. Berger

                                          /s/ George R. Calhoun, V
                                          George R. Calhoun, V



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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on November 2,
2016.



                                                             /s/ Lee F. Berger
                                                              Lee F. Berger (pro hac vice)




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